     Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 1 of 34



DEBORAH D. PETERSON,
Personal Representative
Of The Estate Of
James C. Knipple (Deceased), et al.
                    Plaintiffs



v.                                           Civil Action#1:01CV02094(RCL)



THE ISLAMIC REPUBLIC OF IRAN, et al.
               Defendants



                     REPORT OF SPECIAL MASTER
                  PURSUANT TO ORDER OF REFERENCE
               CONCERNING COUNTS DXLIX THROUGH DLIII

                         LOVELLE “DARRELL” MOORE
                                 CPL USMC


       In accordance with the Order of Reference entered pursuant to the provisions of

Federal Rule 53, the Special Master has received evidence with regard to all issues of

compensatory damages from witnesses as below set forth. This is an action for personal

injury resulting from an act of state-sponsored terrorism. The following findings of fact

are based upon the sworn testimony and documents entered into evidence in accordance

with the Federal Rules of Evidence and have been established by clear and convincing

evidence.



                                FINDINGS OF FACT

     1. LOVELLE “DARRELL” MOORE was born on May 30, 1962 in St. Louis,

Missouri; he was born and has remained a citizen of the United States. On October 23,



                                       Page 1 of 34
    Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 2 of 34



1983 was 21 years of age. Lovelle Moore is the son of Johnney S. Moore (Deceased) and

Allie Mae Moore. He is one of the eight children of Johnney S. Moore. Lovelle Moore

has never been married and he has one child, a daughter about 12 years old, who was

born with and continues to suffer from severe medical problems. The Special Master

takes Judicial Notice of the United States Life Tables published by the National Center

for Health Statistics in 2003 that the above statistical life expectancy of a black male, age

44 is an additional 30.4 years.

       On October 23, 1983, Lovelle Moore was 21 years of age, serving in the United

States Marine Corps, 1ST Battalion, 8th Marine Regiment, 2nd Marine Division assigned to

the 24th Marine Amphibious Unit in Beirut, Lebanon. On October 23, 1983, the building

housing the Marine Battalion at Beirut was attacked by a suicide bomber operating a

truck which penetrated to the center of the building where the operator detonated a large

explosive charge completely collapsing the building resulting in the deaths of 241

American Service personnel and wounding almost every other Marine in and near the

building.

       Lovelle Moore was sleeping in the BLT Headquarters Building in Beirut,

Lebanon, at the time of the terrorist attack and explosion. The force of the explosion

violently woke him up, blew him out of his bunk, and severely wounded him. The force

of the explosion destroyed the BLT Headquarters and the building crumbled on and

around Lovelle Moore and buried him alive. Lovelle Moore was trapped in the building

rubble with serious wounds including a broken leg and part of his foot and part of his ear

torn off from the explosion. For an unknown amount of time Lovelle Moore remained




                                         Page 2 of 34
    Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 3 of 34



trapped in the building rubble surrounded by dead, dying, and wounded Marines until he

was rescued.

       After Lovelle Moore was rescued from the building rubble he was flown to the

United States Military Hospital in Frankfurt, Germany for medical care. Lovelle Moore’s

wounds included, damaged foot, torn off ear, broken leg, and numerous wounds and

bruises. Lovelle Moore’s brother Marvin S. Moore and his sister Alice Franklin went to

the Military Hospital in Frankfurt, Germany, immediately after Lovelle Moore arrived.

Marvin S. Moore testified that he first saw his brother Lovelle in a hospital bed; he was in

pain with numerous scars and his leg and foot were in a cast and his head was bandaged.

Marvin S. Moore testified that he found his brother in a daze and unable to communicate

in a rational manner. Marvin S. Moore testified that the October 23, 1983, explosion and

trauma to his brother, Lovelle Moore, dramatically changed his brother; and the Lovelle

Moore that he saw in the hospital bed in Frankfurt, Germany was not the same Lovelle

Moore he knew as a brother for the previous 23 years. Marvin S. Moore testified that

since his brother’s discharge from the Marine Corps his mental and emotional health has

gotten worse.

       Lovelle Moore has conclusively proven that he was injured in the terrorist attack

on the BLT Headquarters in Beirut on October 23, 1983, that he survived the explosion,

suffered severe physical and emotional trauma, was hospitalized and has continuously

been receiving medical treatment for the wounds and emotional injury from October 23,

1983, to the present.

       Furthermore, the record includes the testimony of Dr. Robert Anderson, a Board

Certified Psychiatrist employed by Jefferson Barracks Veterans Hospital and Lovelle




                                        Page 3 of 34
    Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 4 of 34



Moore’s treating psychiatrist for the last 15 years. The record conclusively proves that

Lovelle Moore suffered pain from his wounds and he has been diagnosed and

continuously treated for Post-Traumatic Stress Disorder from his discharge from the

Marine Corps in 1984 until the present time. Lovelle Moore’s voluminous medical

records, entered into Evidence as Moore Group Exhibit B, have conclusively proven that

from October 23, 1983, to the present he has suffered and continues to suffer from the

physical and psychiatric consequences of the terrorist attack.

       DR. ROBERT ANDERSON is employed by the Jefferson Barracks Veterans

Hospital in St. Louis Missouri. Dr. Anderson graduated from medical school in 1967 and

continued his medical education specializing in psychiatry. Dr. Anderson is a Board

Certified Psychiatrist and his professional practice began as part private and part

governmental. In the late 1980’s he was employed full time in government practice at the

Jefferson Barracks Hospital and Dr. Anderson is a full time salaried employee whose

practice is exclusive and limited to veterans suffering form Post-Traumatic Stress

Disorder (PTSD). Dr. Anderson has treated several thousand veterans for PTSD and Dr.

Anderson has been qualified to testify, as an expert, in prior unrelated litigation.

       Dr. Anderson is Lovelle Moore’s treating psychiatrist and he reviewed over 1,000

medical entries in Lovell Moore’s medical records prior to his testimony. The Veterans

Administration has provided copies of over 3,000 pages of medical records relating to

Lovelle Moore which have been admitted into evidence as Lovelle Moore Group Exhibit

B. Dr. Anderson has been Lovelle Moore’s treating psychiatrist for 16 years, and Lovelle

Moore has an extensive record involving hospitalization at Jefferson Barracks under the

psychiatric care of Dr. Anderson and prior staff psychiatrists. In addition to the Jefferson




                                         Page 4 of 34
    Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 5 of 34



Barracks admissions, Lovell Moore has been hospitalized and/or sought treatment at

numerous other veterans’ facilities including Chicago, North Chicago, Kansas, and

Mississippi.   Lovelle Moore has been under continuous care of the Veterans

Administration for psychological problems and other medical issues since his discharge

from the Marine Corps in 1984.

       Dr. Robert Anderson testified that when Lovelle Moore was first referred to him

he had already been diagnosed as suffering from Post-Traumatic Stress Disorder. Dr.

Robert Anderson, after examining Lovelle Moore, agreed with that prior diagnosis. Dr.

Robert Anderson also testified that there was no apparent pre-existing psychiatric

condition in Lovelle Moore’s medical records prior to October 23, 1983. Dr. Robert

Anderson testified that Lovelle Moore has a record of multiple admissions in the

Jefferson Barracks Veterans Hospital. Dr. Anderson testified that during many years his

admission has been almost monthly. Historically and currently, Lovelle Moore requests

admission because he has become progressively agitated and PTSD has caused him to

think he is going to harm someone. Dr. Robert Anderson testified that many of Lovelle

Moore’s admissions involve substance abuse, most often cocaine, which he appears to

use to “self-medicate” the PTSD. Dr. Anderson went on to testify that PTSD stirs up

reactions in Lovelle Moore and frequently suicide, homicide and violence are issues.

       Dr. Anderson testified that Lovelle Moore does not discuss the trauma he

experienced on October 23, 1983. Dr. Anderson testified PTSD causes Lovelle Moore to

live in a state of combat and he looks at life differently. While Lovelle Moore has told

Dr. Anderson he wants to get better, he has consistently refused to discuss his Beirut

experience.




                                       Page 5 of 34
    Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 6 of 34



       Dr. Anderson testified that they have developed a protocol for treating Lovelle

Moore at Jefferson Barracks. They understand that Lovelle Moore presents himself for

admission to the hospital after he crashes, and he is usually tired and irritable. They

medicate him so he can sleep and they have prescribed medication for anger management

control. Dr. Anderson testified that there is no hope for Lovelle Moore to recover from

PTSD because he will not discuss his Beirut trauma with medical professionals or

participate in group counseling. There is no drug to cure PTSD. Dr. Anderson testified

that Lovelle Moore is unemployable because he is unable to follow instructions. Further,

Lovelle Moore’s PTSD would be set off by an employer simply requesting him to do

something.

       Lovelle Moore has prescriptions for medication which are sent to his mother’s

house since he is generally homeless. Lovelle does not take his medication regularly.

Dr. Anderson testified that Lovelle Moore could become aggressive if he is not taking his

medication as prescribed.

       Prior to October 23, 1983, Lovelle Moore’s mother and every one of Lovelle’s

surviving siblings testified that as a child and through high school Lovell was a fun

loving, considerate, personable, good kid. The testimony clearly evidences that Lovelle

Moore loved his family and had a very close relationship with his mother and father.

There was testimony that Lovelle Moore was very close to his brothers James Otis Moore

and Jamaal Ali. Lovelle Moore did not cause any problems in school and he was a

wrestler. He had many friends and he participated with the neighborhood kids, playing

softball, football, and basketball in local leagues. Lovelle Moore’s mother and every




                                       Page 6 of 34
    Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 7 of 34



surviving sibling unanimously agree that prior to October 23, 1983, Lovelle Moore had

no physical or psychiatric problems.

       While he was in high school, Lovelle Moore began to consider joining the

military. He chose to join the Marine Corps in 1980 and graduated from the Marine

Corps boot camp in Camp Pendleton, California. He reported to Camp Lejuene and spent

the remainder of his Marine career operating from that location. Security rules prevented

Lovelle Moore from telling his family of his many duty assignments. From 1980 to 1983

he wrote and called his family often, making sure his family knew he was okay and to get

family information.

       After his discharge from the Marine Corps in 1984, Lovelle Moore returned to the

East St. Louis area. The village the Moore family lived in gave Lovelle Moore a

homecoming party and parade and a cash award. Lovelle Moore then completed his

GED education. His only job experience was with the U. S. Post Office and he was fired

from that position. Lovelle Moore’s PTSD will not allow him to accept and follow

instructions and normal employment communication is difficult.

       In addition to his father, Lovelle Moore had a very close relationship with his

brothers, James Otis Moore and Jamaal Ali. James Otis Moore was murdered in a

shooting in Racine, Wisconsin in 1992. Lovelle Moore’s father died in 1994. Jamaal

Ali, Lovelle’s half-brother, is the only surviving family member with whom Lovelle has

a close personal relationship.

       Lovelle Moore had one personal relationship with a non-family member. He had

a girlfriend for about six years and they have a daughter. His daughter is a miracle baby

who has had extensive medical problems since birth and she continues to have medical




                                       Page 7 of 34
    Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 8 of 34



problems. Lovelle Moore deeply loves his daughter and when Lovelle Moore feels well

he visits his daughter with his mother. Lovelle Moore has a reasonable relationship with

his former girlfriend. Lovelle Moore’s daughter has a deep love for her father.

       During most of the 22 years since his discharge from the Marine Corps, Lovelle

Moore has lived as a homeless person. The Moore family never knows where Lovelle is

living and their only contact with him is a cell phone which may or may not be working.

From time-to-time he will stay for a week or so with his mother, brothers, sisters,

cousins, nieces and nephews. Almost everyone in the Moore family knows that Lovelle

Moore has psychiatric and emotional issues and the family accepts Lovelle Moore

without question.

       Lovelle Moore’s mother, brothers and sisters have extensive experience with their

brother; they understand his potential for mood swings and the potential for aggression

and violence. Lovelle’s brothers and sisters watch out for their mother because Lovelle

has been both verbally and physically abusive to her in the past.

       Lovelle Moore was unable to provide testimony in this proceeding. As previously

indicated by Dr. Anderson, Lovelle Moore has never been able to discuss the events he

experienced on October 23, 1983 with any medical professional or his family.

       Every member of the Moore family testified that since his discharge from the

Marines Lovelle has not been able to have normal, personal conversations in addition to

his frequent mood swings, psychosis, disappearances, and homelessness. Every member

of the Moore family believes that Lovelle Moore is currently unemployable and

incapable of any inter-personal relationship including brother to brother, brother to sister,

girlfriend, and employer to employee. Every member of the Moore family wants Lovelle




                                         Page 8 of 34
    Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 9 of 34



Moore to participate in meaningful psychological and psychiatric treatment but he refuses

to cooperate. Moore family members have testified that Lovelle Moore believes no one

understands him, and his family no longer loves him.

   2. ALLIE MAE MOORE is the mother of Lovelle Moore. Allie Mae Moore was

born on July 7, 1934; she is retired, disabled, and confined to a wheel chair. At all times

she has been a citizen of the United States. Lovelle’s mother testified that Lovelle was

cheerful, obedient, and had a great sense of humor. She testified that Lovelle attended

high school in East St. Louis and did okay in high school and completed his high school

education with a GED certificate after his discharge from the Marine Corps. Allie Mae

Moore testified that Lovelle spoke to her about the Marine Corps and told her he wanted

to continue his education in the Marine Corps. Lovelle’s mother signed and allowed him

to enlist and he began service April 4, 1980. She testified that Lovelle wanted to go to

college and he wanted to be a mechanic.

       Lovelle Moore did not discuss his deployment to Beirut and Lovelle Moore’s

mother had no idea of what the political and military circumstances were in Lebanon in

1983. Allie Mae Moore heard about the bombing while watching the news. She did not

receive a telephone call from Lovelle. Other members of the Moore family saw the news

coverage of the Beirut bombing. Allie Mae Moore and Johnney S. Moore received

official notification some days after the attack when two Marine Military Policemen went

to their home and advised them that their son had survived the terrorist attack and was

alive but injured and he had been transported to a United States Military Hospital in

Frankfurt, Germany. They were only told a limited amount about his injuries.




                                        Page 9 of 34
    Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 10 of 34



       Ms. Crawford, Lovelle’s sister, testified that after her mother learned of the Beirut

attack she was in contact with the Red Cross to get any information on the condition of

her son. Another one of Lovelle’s sisters, Ms. Franklin, was in Germany with her current

husband and her son, Marvin S. Moore, was employed by a defense contractor and

stationed in Saudi Arabia at that time. Marvin S. Moore and Ms. Franklin immediately

made plans to go to Frankfurt, Germany, and both were able to visit with their brother

while he was being treated in the military hospital in Germany. They reported their

observations to their father, mother, and siblings.

       Allie Mae Moore saw her son when he was released from the hospital. She

recalled Lovelle’s condition when he returned home as dramatically different than when

she saw him last. Lovelle has never told his mother about the bombing, nor any other

family member to the best of her knowledge.

       Allie Mae Moore testified that there is nothing her son couldn’t have

accomplished and she is profoundly sorry for his current lifestyle and emotional health.

She remembers when her son returned to the United States on crutches. She remembers

that since his return he runs out of the house at any loud noise, she knows he doesn’t

sleep, and he wanders at night.       Lovelle’s mother testified that her son disappears

frequently and no one knows where he goes. Lovelle has a cell phone which may or may

not be operational. She is concerned that something may happen to Lovelle and no one

will know about it. Since his return from the Marine Corps Lovelle is unable to sleep

normally and walks around the house at night, he has flashbacks, shakes uncontrollably,

and is unable to speak normally on occasion.




                                        Page 10 of 34
    Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 11 of 34



       Lovelle Moore’s mother testified that Lovelle did not have any emotional or

psychiatric problems before October 23, 1983. She described how he was always in

touch with his relatives and was able to communicate in a clear and normal manner.

Lovelle was proud to have joined the Marine Corps.

       Allie Mae Moore is deeply sad about her son’s psychiatric condition but she feels

there is nothing she can do to help him. She testified that Lovelle’s twenty-three years of

continuous psychiatric and emotional problems has affected the entire family. Since his

discharge from the Marine Corps he has never been able to maintain employment.

Lovelle has had flashbacks since his return from Beirut. He would say things to his

mother that did not make sense. This condition has continued even when Lovelle has

taken his medication. Mrs. Moore does not know where Lovelle lives except when he is

periodically in town, staying with family, or in the hospital. Allie Mae Moore, as a

mother, hates to see her son going through this condition and it has caused her great

emotional pain. Lovelle’s sisters and brothers also hate to see him going through this

condition and it has upset them and deeply affected their lives. They are sad that they

cannot have a normal relationship with their brother and they know they never will be

able to have a normal relationship with their brother.

   3. JOHNNEY S. MOORE (Deceased) was Lovelle Moore’s father and died in

1994. The men in the Moore family have a history of military service. Johnney Moore,

Bronzell Warren, Marvin S. Moore, James Otis Moore, and Lovelle Moore all joined the

military.

       Lovelle Moore and his father had a very close relationship and the testimony

evidences that they spoke often and everyone testified that they were often seen talking




                                        Page 11 of 34
    Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 12 of 34



on the front porch. The death of Johnney Moore deeply affected Lovelle Moore. His

father was one of the few people Lovelle was close to since his discharge from the

Marines.

       (29)     DEBORAH CRAWFORD is the oldest child of Allie Mae Moore and

was born March 26, 1952; she is divorced and has two children. Deborah Crawford

testified that Lovelle and their mother have a very special relationship, and she testified

that Lovelle was a very difficult birth for her mother and the difficulty of Lovelle’s birth

created a special bond. Deborah testified the Moore family is a large and close-knit

family with a long history of family events and traditions. As a child, since she was the

oldest, Deborah Crawford was in charge of caring for her brothers and sisters when her

mother was at work.

       Deborah Crawford testified that Lovelle was a typical child, he was loving,

caring, considerate, and was deeply committed to his family. Deborah testified that her

brother liked sports, wrestled, played football, softball, and basketball in the

neighborhood leagues. Deborah Crawford testified that Lovelle had no psychological

problems prior to October 23, 1983. Deborah Crawford also testified that Lovelle formed

a special relationship with their father. Lovelle and his brother James Otis Moore were

best of friends. Lovelle Moore told his oldest sister he was going into the military to

better himself, get out of East St. Louis, Illinois, and make something of himself.

        Sometime after October 23, 1983, one of Deborah Crawford’s brothers called her

and told her Lovell Moore had been hurt in the terrorist attack and to watch the

television. It was all over the television and the family was trying to get in touch with the

Red Cross to find out if their brother survived. Her sister that was living in Germany told




                                        Page 12 of 34
    Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 13 of 34



the family that he was alive but they were still trying to get information. The next she

heard was that he had survived and was injured.

       After Lovelle was discharged from the Marines he was difficult to deal with, he

would walk around the house at night, and he not sleep normally. He would try to

communicate to family members using strange sounds; the words he used were not

recognizable, many of the things he did say could be understood but were not factual, and

he would “talk crazy. Deborah Crawford testified that Lovelle Moore would just sit in a

chair and stare at family members and when they asked him what he was doing he would

tell them it was the result of his medication.

       Deborah Crawford testified that her brother hasn’t functioned normally since he

returned from the Marine Corps. He disappears and can only be contacted with a cell

phone. Sometimes he stays at other family members’ homes for a week or two but

generally he lives as a homeless person. Lovelle is not able to have a face-to-face

conversation with people trying to have a conversation with him. Her brother doesn’t

have any normal relationships and Deborah Crawford believes that normal relationships

in his current condition are impossible. Deborah Crawford has serious concerns if her

brother will ever be normal. Deborah testified that Lovelle Moore has gotten violent and

has gotten into fights. Deborah also testified that Lovelle has, on occasions, tried to get

help; Lovelle recognizes he has a problem but he is unable to participate and complete

any psychiatric or psychological program to help PTSD veterans.

       Deborah Crawford testified that her mother looks at Lovelle and knows what he

could have been and her mother is troubled by what Lovelle has become. All the Moore




                                         Page 13 of 34
   Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 14 of 34



siblings, nieces and nephews are close and protective of Lovelle and everyone knows he

has issues and accept him and attempt to watch over him.

   4. AUDREY WEBB is Lovelle Moore’s sister; she has been married for 30 years

and she has two living children.

   Audrey Webb testified that as a child Lovelle was normal in every way, he helped

around the house, and he was a good student. Audrey testified that the Moore boys

watched over each other. The Moore boys would compete with each other and Lovelle

loved their comradery. Audrey remembers Lovelle as ambitious and he told his sister he

wanted to finish his education in the military and get job experience. She testified that

Lovelle went into Marines because it was a different branch of the service from his

brothers. When he was on duty with the Marines, Lovelle called Audrey frequently when

he was on a ship. They never discussed his missions and many times he couldn’t tell her

where he was on duty.

       In October 1983, Audrey was married and her mother called and told her that

Lovelle’s barracks had been attacked and Lovelle had been hurt. She had no more

information. Her mother contacted the Red Cross to get more information. When the

Marines came to her mother’s door the family feared that he had been killed. They were

not given much information. Her brother Marvin Moore and her sister Alice Franklin

visited Lovelle in Germany. Fortunately they were living abroad at the time and they

were able to give the family more information about Lovelle’s condition. When Lovelle

came home the village held a parade for him and he was on television. He was on

crutches recovering from surgery at the time of the parade.




                                       Page 14 of 34
   Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 15 of 34



       After October 1983, Audrey testified her brother became a loner, he had bad

dreams, nightmares, and their mother told Audrey that Lovelle was reliving Beirut.

Lovelle stayed by himself and he wouldn’t talk about Beirut. When Lovelle Moore

hasn’t taken his medication he acts differently.       Lovelle disappears frequently and

Audrey does not know why he disappears. She notes that he falls asleep in chairs,

doesn’t work, and doesn’t want to go to bed. Audrey Webb testified that her brother

cannot focus. He tries to have conversations with the family but he has a limited ability

to communicate. When he is able Lovelle does enjoy being with the family. When

Lovelle doesn’t take his medication he is volatile and may become violent. Audrey’s

mother is happy to see Lovelle when he is on his medication; if he visits his mother when

he is not taking medication, or when he is waiting for his medication to arrive at his

mother’s house, she becomes fearful for her safety and calls the other siblings to come to

her house. Audrey feels that at time like this Lovelle is maybe “trying to call the family

together.” Lovelle does better in a group and he likes to be surrounded by family and

friends. Since his return from Beirut Lovelle is not able to hold a steady job or maintain

a normal lifestyle. He did work for the U.S. Post office for a short time. Lovelle’s

condition has stayed about the same since his discharge from the Marines. He tries to

reassure the family that he is okay and that he loves them.

       Lovelle Moore has a daughter, Kalin, who is 11 years old and has severe

disabilities. Audrey Webb testified that his daughter is important to Lovelle; his daughter

“inspires Lovelle.” Lovelle Moore’s daughter has had surgery on her legs and lives in a

brace and requires special housing.     Lovelle’s daughter has eye problems, intestine

problems, and she has endured numerous surgeries. Kalin’s mother is involved with the




                                       Page 15 of 34
   Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 16 of 34



Shriners. Lovelle tries to be supportive when he is feeling well and is there for her unless

he is at Jefferson’s Barracks in the Hospital. Before October 23, 1983, Lovelle would

call Audrey frequently and was very supportive of her daughter that had leukemia. He

still tries to be supportive but because of his condition he has a limited ability to be

patient and communicate.

       Audrey would like to see Lovelle feel a sense of accomplishment. She wishes he

could get better and participate normally with the family. Audrey feels that terrorism is a

war that is killing many innocent people. She is angry about what has happened to her

brother.

   5. ALICE WARREN FRANKLIN is Lovelle Moore’s sister and she was born on

December 9, 1955. Alice Franklin currently employed and is married with two children.

       Alice Franklin testified that as a child and through high school her brother Lovelle

was normal, a good kid, he did his chores, he was good in school at East St. Louis, and he

cared about his family. Alice Franklin also testified that Lovelle was close to both his

father and mother but he was particularly close to his mother. Lovelle would sit on the

front porch and talk to his father. Lovelle participated in all family holidays. Prior to

October 23, 1983, Lovelle was healthy and normal in every way.

       When Lovelle enlisted in 1980 he spoke to Alice about how excited he was and

that he wanted to “be all he could be” and to see what it was like. He dreamed about

joining the military and he wanted to experience it to decide if he wanted to make the

military his career. After he enlisted Lovelle Moore kept Alice informed about is duties

and whereabouts through letters.     Lovelle thought basic training was hard but he got




                                        Page 16 of 34
    Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 17 of 34



through it and he felt good about that. When he went to Beirut he did not know much

about the situation. He said it was hard but he knew he could get through it.

       Alice Franklin’s husband was in the Army in 1983 and she lived with him where

he was stationed in Germany. On October 23, 1983 she received a phone call from her

husband’s military contacts telling her about the Beirut explosion. At that time she had

no idea whether Lovelle was involved. Then she received word from military authorities

telling her that Lovelle had arrived in the U. S. Military Hospital in Frankfurt, Germany,

and that he was wounded. When Alice initially found out that Lovelle was wounded she

had many thoughts going through her head: What happened? What did he look like?

Was he in a coma? Her thoughts were not good.

       Alice Franklin visited her brother in the hospital and saw deep wounds and cuts,

half of his ear was missing, he was in a cast, and the bottom of his foot was damaged or

severed, his whole body was covered in cuts and bruises. Lovelle told Alice that he was

sleeping, he heard a loud noise, and the building collapsed on him. He told Alice his

peers were yelling and he was very scared. Lovelle didn’t know how long he was buried

in the building.

       Since 1983 Lovelle has never spoken to her about his Beirut trauma. Lovelle

does remember things about Beirut but he is unable to talk about it with anyone. Since

1983 Alice Franklin doesn’t understand her brother and she believes he is in his own

world and he is unable to give any more. He cannot carry on conversations and often

gets up in the middle of a discussion and walks away. Lovelle cannot carry on long-term

relationships with women. Alice Franklin testified that his mind cannot stay focused and

this has caused many problems for him. From 1983 to the present no medication has




                                       Page 17 of 34
    Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 18 of 34



really helped him. Alice Franklin testified that her brother has mood changes. Lovelle is

not able to sleep and he is restless. Most nights he gets up and walks around because he

has flashbacks about the building falling on him. He cannot understand why he is still

alive. Lovelle remembers the building falling and his friends dying right in front of him.

       Lovelle speaks to Alice Franklin because she is a good listener. Alice believes

she is the closest of the siblings to Lovelle. Lovelle has told her that no one loves him,

no one understands what he is going through, and he is unhappy. Lovelle doesn’t go to

family events and the medication he takes alters his mind. Lovelle cannot be around the

family because he feels they do not understand him. Alice tries to encourage Lovelle; she

does not confront him like other members of the family do. Lovelle listens to Alice.

Alice Franklin is aware that Lovelle has a drug problem and disappears for weeks and

months at a time. Lovelle lives on the street and the family cannot find him half of the

time. Many times no one in the Moore family can contact him and Lovelle controls his

contacts with the family. Lovelle chooses not to be around the family, he is doing his

own thing. Lovelle does not want the family to see him in his condition. When Lovelle

chooses to leave, he goes “off the chart.” Alice testified that Lovelle is depressed a lot.

Lovelle is not able to talk about his relationship issues. Lovelle had a girlfriend for six or

seven years and they had a daughter. Lovelle has a relationship with his daughter; he

loves her very much, and makes an effort to be a good father. Lovelle has had no other

long-term relationships with women.

       Alice Franklin said Lovelle is a loner and he can become argumentative and he

says that no one understands him. Jamaal Ali is his half-brother and Alice does not know

much about him because she lives out of the family area. Lovelle and his brother James




                                        Page 18 of 34
   Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 19 of 34



Otis were close and he died in 1992. While he was alive Lovelle talked with Otis James

often. Lovelle was able to talk to his father but he died in 1994. Lovelle does not stay

with his sibling except for Alice. Lovelle tries to have a relationship with his cousins but

Alice is unaware of any friends Lovelle may have outside the family.

        Lovelle has been arrested but most arrests deal with communication problems.

The problems with the law have occurred because of his psychiatric problems. Lovelle

doesn’t have a long attention span and he gets frustrated. When Lovelle goes to therapy

he says he goes because “he wants his mind back.” He begins the treatments but he is

unable to complete therapy. This pattern has repeated since 1983. In Alabama in 2005

he could not finish the preliminary work to get into a treatment program.

        Alice said she has Power of Attorney for Lovelle and should there be an award in

this case she would hope she could continue to manage his financial affairs. Alice hopes

that Lovelle can get into a treatment program with therapy to help him sort out what is

going on in his head and help him to get his mind back. She hopes Lovelle could be

helped to the point where he would not be a wanderer any more. The family feels very

bad for Lovelle and they worry about him. They feel he does not have to be homeless.

The family tries to help him and they feel helpless, they are handicapped too.

   6. BRONZELL WARREN was born October 15, 1958; he is married and has one

child, a four year old daughter. Bronzell Warren was in the Army and served as a combat

engineer in Frankfurt, Germany. Bronzell was honorably discharged from the Army in

1979.

        Due to the age difference, Bronzell and Lovelle Moore never went to school

together but they were raised together. They each had their own circle of friends.




                                        Page 19 of 34
    Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 20 of 34



Bronzell testified that Lovelle Moore looked after his sisters, had a great personality, and

got along well with everybody. Bronzell Warren testified that prior to October 23, 1983,

Lovelle Moore did not have any problems in school and had a group of neighborhood

friends. He had no psychiatric problems, he had no sleep disorder, and he did not have

any relationship issues prior to 1983.

       After Lovelle became a Marine, Bronzell and Lovelle argued about which branch

of the service was more difficult. They would compare the level of difficulties of each

branch’s basic training. After 1980 and before 1983 Bronzell testified that Lovelle

became more mature and responsible and helped out the family.

       In 1983 Bronzell knew that his brother was in Beirut, Lebanon, and he knew the

tactical situation from television coverage. Bronzell spoke to his older sister when she

returned on leave and they knew Lovelle was due back in November 1983 so she did not

think Lovelle was involved in the bombing; but Bronzell thought he could have been

involved in the bombing.

       Bronzell first learned that Lovelle was injured when Marines came to his mother’s

home and advised the Moore family that he was alive, wounded, and had been

transported to a hospital in Germany. The family did not know the specifics of the extent

of his injuries. Bronzell knew his brother Marvin was working with a defense contractor

is Saudi Arabia, and his sister Alice was also in Germany with her husband who was in

the Air Force. Bronzell knew that Marvin and Alice would immediately visit Lovelle.

Bronzell and testified that his brother and sister called, after their visit, and told the

Moore family that Lovelle was in good spirits, part of his ear was missing, he had hearing

loss, his foot had been damaged, but he was recuperating. Bronzell testified that he




                                         Page 20 of 34
    Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 21 of 34



believes Lovelle returned to the United States in 1984, he remembers their town had a

homecoming party for Lovelle at the city hall, held a parade, and gave him a check.

       Immediately after Lovelle returned, the Moore family noticed a change in his

personality. While he was trying to sleep, which was difficult for him, he would talk and

make violent moves. It was scary for his family. No one could understand what he was

saying when he was talking in his sleep and they noticed he would walk around and jump

from the bed at night. They noticed bursts of energy and vocalization which they

couldn’t understand and Lovelle began to disappear for weeks and months at a time.

Lovelle was no longer capable of having normal relationships with his siblings and

others. Lovelle became argumentative with family members. It is difficult to talk with

Lovelle and sometimes he does not hear people talking to him. When Lovelle Moore

isn’t taking his medication he can get crazy. Lovelle is deaf in one ear as a result of the

bombing. Lovelle is incapable of having an inter-personal relationship with anyone

outside the family, including a girlfriend.

       Lovelle was close with his brother, James Otis Moore. James Otis was shot and

killed in 1992. Bronzell testified that Lovelle Moore was with the family during some of

the preparation for the funeral but then he just left and was not with the family at the

funeral. The day before the funeral Bronzell went to find Lovelle. He found him and

tried to have him return for this funeral service for a brother he was close with in the past.

Lovelle refused to return for the funeral. Bronzell and Lovelle had an argument and

Lovelle has told Bronzell that the family no longer loves him and looks down on him.

       Bronzell testified that Lovelle will show up at his mother’s house and Bronzell is

worried about his mother’s safety, she is disabled and in a wheelchair. Some of the




                                        Page 21 of 34
    Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 22 of 34



habits that Lovelle has around the house make their mother nervous.                 Lovelle

occasionally brings people that he met on the street into his mother’s house. Their

mother is afraid of Lovelle. Their mother is concerned about Lovelle’s safety. Bronzell

Warren feels Lovelle is no longer able to have any meaningful relationships. Everyone in

the neighborhood all know Lovelle Moore and they know he has issues and they try to

watch out for him. When Lovelle is gone the family does not know whether he is dead or

alive.

         Bronzell feels that he lost his brother for twenty-one years; they tried to kill or

maim his brother and turned him into something else. Bronzell wants his brother back.

He wants his brother to be able to maintain a residence and have a normal, loving life

with his family. Bronzell wants to know why this had to happen to his brother. Bronzell

wants his brother to have the medical care necessary to bring him back to them and allow

him to have a normal life. Bronzell wants his brother to realize and understand that his

family loves and cares for him; perhaps they care too much.

    7. MARVIN S. MOORE is a brother of Lovelle Moore and was born November

30, 1959; he is not married. Marvin was a member of the Air Force from 1977 to 1982

and obtained the rank of Sergeant. He served as a fighter aircraft technician and he

performed inspections maintaining F15 aircraft. Marvin has been employed by Boeing

for 20 years and he is a logistics engineer for the aircraft manufacturer.

         Marvin remembers Lovelle as a normal, happy-go-lucky kid with no

psychological problems. He remembers his brother wrestling in high school. Marvin

testified that Jamaal Ali was Lovelle’s brother and that Lovelle, James Otis Moore, and

Jamaal Ali were buddies, fun loving, and joking all the time. Lovelle had a special




                                        Page 22 of 34
    Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 23 of 34



relationship with his father. Lovelle has a close relationship with his mother. Prior to

1983 Lovelle was an important and integral part of the Moore family.

       Marvin was working for a defense contractor in Saudi Arabia in October 1983.

He spoke to Lovelle prior to October 23rd on the phone and recalled that Lovelle told him

he was living in harsh conditions and Marvin believed that Lovelle’s conversation

implied that the situation was dangerous.

       Approximately one day after the bombing, there is a time zone change, Marvin

was in Saudi Arabia and received a call from home telling him that Lovelle was involved

in the bombing. The Red Cross actually contacted Marvin because his family was having

difficulty reaching him.     Marvin knew his mother was calling the Red Cross for

additional information.

       Marvin went to Frankfurt, Germany, and visited Lovelle. He found him in a

hospital bed, in pain, with scars, bruises, a broken leg, part of his ear was torn off, a cast

was on his leg, and numerous wounds all over his body. Marvin testified that Lovelle

was in a daze and in obvious mental distress. Lovelle was disorientated and did not know

why he was there. He was not the same Lovelle Moore that Marvin knew before the

explosion.

       Marvin testified that since October 23, 1983, Lovelle is a totally different person.

He disappears, sees fantasies which he sees as reality, communication is a problem, and

has trouble dealing with life and people on a real basis. He is not normal or responsive

like he was before the explosion. Marvin believes his brother is getting worse. Lovelle

has been hospitalized numerous times each year since the bombing. Marvin has seen

PTSD and he believes Lovelle has this disorder. He sees his brother as incapable of




                                        Page 23 of 34
    Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 24 of 34



brother to brother or brother to sister conversation or relationships. He testified that

Lovelle has flashbacks, and Marvin can look at Lovelle, speak to him, and Marvin can

tell, from the look on his face that Lovelle is in a different zone. Lovelle does not seem

to be able to control his ability to focus and assimilate reality. Lovelle has a close father-

daughter relationship with his daughter when he is there which is not regularly. The

Lovelle Moore that everyone knew before 1983 no longer exists.

       Lovelle is subject to mood swings. He can be calm and then turn violent and this

happens all the time. Marvin is deeply troubled by the loss of his brother, when Lovelle

does show up at family events it is dramatic and stressful. Marvin is worried about the

family, he believes Lovelle will never marry, and he is worried about his mother. Lovelle

can present a danger to his mother when he is experiencing an episode of PTSD.

       Marvin has followed Lovelle’s history and he notes that since 1983 Lovelle has

been receiving medication and medical treatment. Marvin understands that Lovelle’s

medical records are voluminous.      Lovelle has attempted to work at the post office but

was fired. Lovelle has been homeless for long periods, twenty years off and on, and lives

at his family’s homes from time to time. Lovelle is not employed, Lovelle does not have

the capacity to have a normal relationship with anyone but Lovelle remains very close to

his mother and daughter. The family has an enormous amount of stress worrying about

Lovelle and not knowing where he is most of the time. Lovelle was missing at the time

the family was interviewed for this case and they do not know when or how they will

hear from him.

       Marvin testified that he has tried numerous times to talk to Lovelle and he has

personally taken him to hospitals for medical treatment on at least three occasions. None




                                        Page 24 of 34
   Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 25 of 34



of Marvin’s efforts have helped his brother. After Lovelle is admitted to the hospital he

leaves without completing the treatment and disappears. This repeat behavior is a big

disappointment for the Moore family.

       Marvin fears that Lovelle’s explosive personality could result in injury to their

mother. Marvin has been forced to move Lovelle from his mother’s house after a violent

outburst. Marvin testified that Lovelle has verbally and physically abused their mother a

number of times. As Lovelle’s mother it is hard for her to understand that being with

Lovelle may put her in harms way. Their mother has grown to accept Lovelle’s behavior

and she does not realize that she is enabling him. Marvin doesn’t believe the rest of the

Moore family will confront Lovelle and Marvin believes Lovelle can manipulate the

family for sympathy when he wants help.

       Marvin Moore knows the terrorist attack on October 23, 1983 changed his

brother. Marvin testified that their father and Lovelle were able to communicate and

often were found together. Their father felt that he lost a son in the bombing. He tried to

make Lovelle realize that he has a problem and to deal with it. Marvin misses the

brother-to-brother relationship that he had with Lovelle prior to the bombing.

   8. JAMES OTIS MOORE (Deceased) died on October 2, 1992, from gunfire in

Racine, Wisconsin. Lovelle Moore, Jamaal Ali, and James Otis Moore were not only

brothers but also they were also close friends, playing together as children, and visiting

each other’s homes.

       James Otis Moore was the first of Lovelle Moore’s close family to die, his father

Johnney S. Moore died in 1994, and his daughter was born with serious medical

problems in 1994.




                                       Page 25 of 34
    Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 26 of 34



   9. JOHNNIE MAE MOORE-JONES is the youngest sister of Lovelle Moore and

was born in East St. Louis, Illinois; she is married and has two children.

          Lovelle Moore told his youngest sister that he was joining the Marine Corps

because he wanted to travel and continue his education in the Marine Corps. Johnnie

Moore-Jones went on to testify that she remembers Lovelle was gung-ho about his

Marine Corps career.

          Johnnie Moore-Jones remembers Lovelle as a typical big brother, joking, and

playful who always wanted be around his family. She remembers Lovelle always taking

things apart and putting them back together. Johnnie is five years younger than Lovelle.

          Boot camp was hard for Lovelle and he was proud to have completed it. She

remembers when her brother graduated from boot camp and Lovelle told her Simper Fi;

that was the first time she heard the phrase. Johnnie remembers her brother wanted to be

a mechanic and he was trained as a mechanic in the Marines and was transferred to Camp

LeJeune after boot camp. She remembers her brother wanted to go to college.

          Before Lovelle went to Beirut he called Johnnie, who was in high school at the

time, and told her he was going to go to Beirut because he “had a job to do and he was

going.”     Lovelle wrote the family from Beirut and told them he had to be careful; the

Moore family knew it was a dangerous place. The Moore family thought Lovelle was

holding back on some of the more dangerous information. Lovelle wrote that he loved

the family and asked that they keep him in their prayers. In one of his final letters from

Beirut, Lovelle wrote that he was scheduled to depart Beirut in December; he told his

family he would be glad to get back.




                                        Page 26 of 34
    Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 27 of 34



       On October 23, 1983, Johnnie saw the newscast about the Beirut attack and she

didn’t know what to do.       The Moore family knew the Marines were in Beirut as

peacekeepers. The Moore family did not know the extent of the danger in Beirut. Two

Marine Corps Military Policemen came to the Moore home and told the Moore family

that their son had been injured in the explosion and he was alive and he was being

transported to the Military Hospital in Frankfurt, Germany. The Moore family, initially

thought the Marines were going to tell them that their son had been killed.

       Johnnie Moore-Jones went to school and she was taken from class by some news

reporters and brought out to their van and shown a television report with her brother

being interviewed. She remembers his head in a bandage and his leg in a cast; she

recognized her brother. He looked real messed-up and it makes her sad to recall seeing

her brother hurt in that way. It was her big brother and it upset her to see him hurt.

       After a week or two Lovelle called home, Johnnie testified that her brother’s

conversation was difficult to understand, “he was out of it” but he did tell them that he

loved them and many of his friends died and some were injured as well. Johnnie testified

that Lovelle has never been the same since. From Germany Lovelle was brought to

Camp LeJeune.        After awhile he was allowed to come home on leave, he was on

crutches, he couldn’t hear in one ear because it had been damaged in the explosion, and

he couldn’t sleep. For the past twenty-three years Lovelle has not been able to get a good

night’s rest. Lovelle was happy to see his family but it just was not the same; he was on

edge. She sees her brother today with no job and unable to communicate and this brings

her great sadness.




                                        Page 27 of 34
    Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 28 of 34



       Lovelle has had difficulty communicating since his return from Beirut. This has

caused Lovelle pain and he is frustrated because he feels no one understands why he acts

the way he does. Lovelle feels confusion and guilt as to why he survived. He does not

understand why the other people died. If the bombing had not happened Johnnie believes

that Lovelle would have been very successful. He was a “crowd pleaser” before the

bombing. He enjoyed people. To see him go from being your big brother that you

idolize to being a loner that is unattached and in his own world is extremely difficult and

sad.

       Johnnie wants restitution for the people who were damaged by the explosion and

for the people who where killed in the explosion. She hopes there will be restitution for

the families that have endured such a huge loss. No one should have to be tormented for

years and see their friends and their lives taken away from them by terrorism. For many

veterans they have to live their lives with fear of the unknown and it is not right. The

Moore family needs assurance that Lovelle will be safe and have a chance to be normal.

Lovelle is not a normal person anymore and she wishes that could change and he could

have his life back.

   10. JAMAAL MUATA ALI (formerly known as “Melvin Lamont Robinson” and

“Melvin Lamont Works”) is the brother of Lovelle Moore. Jamaal Ali is married and he

is employed as an over the road bus driver. Jamaal Ali is the son of Ora Lee Isaac-Works

and Johnny S. Moore.

   In 1994 Jamaal’s mother told him his real father was Johnney S. Moore. While

Jamaal was at school one day Lovelle went up to Jamaal Ali and introduced himself to

Jamaal as his brother. From that moment on Lovelle and Jamaal were close. Jamaal was




                                       Page 28 of 34
   Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 29 of 34



happy to have a little brother. Jamaal, Lovelle, and their brother James Otis became best

friends and Jamaal testified to many memories of the three brothers doing things together

such as playing football, watching Lovelle wrestle in school, and riding around together,

and hanging out at the basketball court. They did all the normal teenager things together.

From 1974 to 1980 the three of them were friends, meeting every day. When Jamaal

moved to Joliet, James Otis moved in with him until James moved to Wisconsin. In

October 1983 Jamaal was working as a prison guard at the Joliet penitentiary and he saw

Lovelle on television with his head wrapped in bandages giving an interview. Jamaal

was stunned.

       When Lovelle returned home Jamaal testified that he had changed, he became

quiet, a loner, and did not want to talk about Beirut. Lovelle has become a recluse. A

couple years ago Lovelle Moore opened up a little and briefly discussed his Beirut trauma

with Jamaal.

       Since Lovelle’s return from Beirut he has been hospitalized numerous times.

Jamaal Ali testified that Lovelle Moore has proven to him that he is incapable of having

normal family relationship and incapable of being a family man. Lovelle asked to

borrow Jamaal’s car and Lovelle never returned it. Jamaal Ali testified that Lovelle is no

longer an honest person and Jamaal sees Lovelle as battling with his condition and not

sharing it with anyone. Lovelle Moore has disappointed Jamaal a number of times and

Lovelle’s mental and physical health is a concern to Jamaal. He worries about Lovelle

living on the street, one day in Chicago the next day in Mississippi. One day Jamaal was

driving and saw Lovelle walking on the side of the street and he picked-up Lovelle.

Lovelle Moore’s psychological problems have affected their relationship and Lovelle




                                       Page 29 of 34
   Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 30 of 34



only sees Jamaal when Lovelle has issues. Jamaal is concerned that Lovelle is secretive,

he is concerned about Lovelle’s drug use and living as a homeless person on the streets.

Jamaal loves his brother but he needs some help. Jamaal is a safety net for Lovelle.

When Lovelle is in trouble he comes to Jamaal for help. Jamaal knows that Lovelle

relives the trauma and horror of the bombing in Beirut.

          Jamaal worries about Lovelle and is concerned that harm will come to him since

he is homeless and has a problem with drugs. Lovelle is very secretive. Lovelle has told

Jamaal that he cannot sleep. He does not eat regularly. Jamaal misses the Lovelle from

before 1983; a happy-go-lucky fellow that was fun to be around. Jamaal loves Lovelle

unconditionally; he is his brother. Jamaal will continue to try to help Lovelle whenever

he can.

          Jamaal hope that the outcome of this litigation will bring Lovelle the medical help

he needs.      Jamaal wants Lovelle to get better.       Jamaal cries at night sometimes

remembering how things used to be and how Lovelle is now. Jamaal wants he and

Lovelle to be real brothers again. He wants once again to be able to laugh together, play

cards together, and enjoy a relationship together with his brother Lovelle. Jamaal does

not have much faith in the medical profession but he prays that the doctors can find

something to bring his brother back to the happy-go-lucky person he was before the

bombing.




                                         Page 30 of 34
    Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 31 of 34




                                   CONCLUSIONS OF LAW

           a) Loss of Past and Future Wages

       The report of Dr. Jerome Paige is attached. The calculations are detailed and

supported by the evidence. The Special Master concluded that judgment should be

entered for past and future wages in the amount of $1,314,513.00.

           b) Pain and Suffering

       There is evidence of extreme pain and suffering endured by Lovelle D. Moore

from immediately after the attack to the present time. In addition, Lovelle D. Moore has

endured severe Post-Traumatic Stress Disorder resulting from the attack on October 23,

1983, which has continues to the present and will remain with significant affects upon

Lovelle D. Moore for the remainder of his life. The Special Master takes judicial

cognizance that the United States Life Tables published by the National Center For

Health Statistics in 2003, National Vital Statistics Reports, Vol. 54, No. 14, April 19,

2006, sets forth the statistical life expectancy for a black male age 43 to 44 as 30.4 years.

It is noted that the continuing pain and suffering that Lovelle D. Moore has and is

experiencing is not a life shortening type. Given the above life expectancy calculations,

Lovelle D. Moore has suffered and is expected to suffer a total of more than 50 years of

pain and suffering as a direct result of the injuries and trauma he experienced from the

terrorist bombing on October 23, 1983. The Special Master concludes as a matter of law

that the appropriate compensation for Lovelle D. Moore for his physical injuries and

emotional injuries, including the Post-Traumatic Stress Disorder, is $20,000,000.00 and




                                        Page 31 of 34
   Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 32 of 34



that judgment should be entered in that amount for pain and suffering to date and for the

remainder of his lifetime.

           c) Solatium

       The Foreign Sovereign Immunities Act provides for an award of solatium

consisting of emotional injury inflicted upon the persons other than the person physically

injured by the actions of the defendants and/or their agents. As the Court noted in the

Flatow, 999 F.Supp. 1 (1998), this is an item of damages which belongs to the individual

personally for the emotional injury intended to be inflicted upon the family of the person

suffering direct physical injury, including injury to the feelings and loss of comfort and

society as a result of the emotional damage inflicted upon the person physically injured.

The unexpected quality of the occurrence may be taken into consideration in gauging the

emotional impact of those related to the person who was himself physically injured.

Jenco v. Iran, 154 F. Supp.2d 27 (2001). In this case the impact upon the parents,

brothers, and sisters of Lovelle D. Moore was profound and its duration of more than 23

years leads the Special Master to conclude that these injuries are permanent in

accordance with Estate of Underwood v. National Credit Unit Administration, 665 A. 2d

621 (D.C. 1995). That Special Master concludes as a matter of law that the following

amounts are appropriate compensation for this element of damages: Estate of Johnney S.

Moore, Deceased, (father) $10,000,000.00; Allie Mae Moore, (mother) $10,000,000.00;

Deborah Crawford (sister) $10,000,000.00; Audrey Webb (sister) $10,000,000.00; Alice

Warren Franklin (sister) $10,000,000.00; Bronzell Warren (brother) $10,000,000.00;

Marvin S. Moore (brother) $10,000,000.00; Estate of James Otis Moore, Deceased,




                                       Page 32 of 34
   Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 33 of 34



(brother) $10,000,000.00; Jonnie Mae Moore (sister) $10,000,000.00; and Jamaal Muata

Ali (brother) - $10,000,000.00.

                              SPECIAL RECOMMENDATION

       The Special Master recommends that special provisions be made for the

administration of Lovelle Moore’s finances. The Special Master had determined that at

the time of this report Lovelle Moore is disabled. That Lovelle Moore is now, and has

been since October 23, 1983, suffering from Post-Traumatic Stress Disorder and other

emotional and psychological illnesses. Lovelle Moore is a chronically and severely

disabled person. The Special Master has reached this decision based on a complete

review of the many hours of testimony and the over 3,000 pages of medical records and

other evidence submitted herein. Dr. Richard Anderson, a Board Certified Psychiatrist,

employed by the Veterans Administration at the Jefferson Barracks Veterans Hospital in

St. Louis Missouri, and the treating psychiatrist for Lovelle Moore, has testified to

treating Lovelle Moore for PTSD for fifteen years to the present time.

       The Special Master recommends that this Court appoint a Guardian Ad litem for

Lovelle Moore. The Guardian Ad litem would assist Lovelle Moore’s family to insure

that special provisions are in place for the administration of Lovelle Moore’s finances.

       The Special Master has heard the testimony of every member of the Moore

family, and believes that ALLIE MAE MOORE, mother of Lovelle Moore, ALLICE

WARREN FRANKLIN, sister of Lovelle Moore, MARVIN S. MOORE, brother of

Lovelle Moore, and JAMAAL ALI, half-brother of Lovelle Moore, each have

demonstrated a special relationship with Lovelle Moore and have demonstrated sufficient

maturity and responsibility to assist Lovelle Moore in the future.




                                        Page 33 of 34
   Case 1:01-cv-02094-RCL Document 205 Filed 09/07/06 Page 34 of 34



       Upon notification that a recovery has been made, Lovelle Moore, Allie Mae

Moore, Alice Warren Franklin, Marvin S. Moore and Jamaal Ali will convene a meeting

and begin discussions with competent legal and financial advisors as to how the funds

will be invested, disbursed, and administered. The role of a Supplemental Needs Trusts

and the needs of Lovelle Moore’s disabled daughter must also be addressed. Should a

Guardian of the Estate of Lovelle Moore be required, it is the recommendation of the

Special Master that the above serve as co-guardians for the Estate of Lovelle Moore and a

Corporate Guardian be appointed.

       The Special Master recommends that no disbursement of funds be made directly

to Lovelle Moore until such time as a Court of competent jurisdiction has determined that

Lovelle Moore is no longer disabled and can competently manage his financial affairs.




Date: August 29, 2006



                                            S/S
                                     ______________________________________
                                     Loraine A. Ray,
                                     Special Master




                                      Page 34 of 34
